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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                Newport News Division

 JAMES T. PARKER, II and
 DEBRA L. PARKER,

                Plaintiffs,

 v.                                                     CIVIL NO. 4:16-cv-156

 FREEDOM MORTGAGE CORPORATION,
 EXPERIAN INFORMATION SOULTIONS, INC.,
 TRANS UNION LLC, and EQUIFAX
 INFORMATION SERVICES, LLC.,

                Defendants,

                     STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs James

 T. Parker and Debra L. Parker and Defendants Freedom Mortgage Corporation, Experian

 Information Solutions, Inc., Trans Union LLC., and Equifax Information Services, LLC.,

 stipulate to dismissal with prejudice, each party to pay its own costs and attorneys fees.

 Therefore dismissal without a court order is proper.

        There are no longer any issues in this action between Plaintiffs and the Defendants to be

 determined by the Court, and all parties that have entered an appearance stipulate to its dismissal,

 with the court retaining jurisdiction for the purpose of enforcing the settlement of the matter.

        Respectfully submitted this 5th day of June, 2017.
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 SEEN AND AGREED:



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